      Case 4:20-cv-05063-RMP     ECF No. 20   filed 11/04/20   PageID.103 Page 1 of 2



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2                                                                            FILED IN THE
                                                                         U.S. DISTRICT COURT
                                                                   EASTERN DISTRICT OF WASHINGTON


3
                                                                    Nov 04, 2020
4
                                                                        SEAN F. MCAVOY, CLERK




5                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
6

7     MELANIE REISWIG and CRAIG
      REISWIG,                                   NO: 4:20-CV-5063-RMP
8
                               Plaintiffs,       ORDER GRANTING STIPULATED
9                                                MOTION TO DISMISS
            v.                                   DEFENDANT PROVIDENCE
10                                               HEATH & SERVICES OF
      PROVIDENCE HEALTH &                        WASHINGTON
11    SERVICES OF WASHINGTON,
      d/b/a Providence St. Mary Medical
12    Center; WALLA WALLA CLINIC,
      INC, PS; and ERIK C. GRYLER,
13    M.D. and JANE DOE GRYLER,
      husband and wife and the marital
14    community comprised thereof,

15                             Defendants.

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           BEFORE THE COURT is the parties’ Stipulated Motion to Dismiss
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     Providence Health & Services with Prejudice, ECF No. 19. Having reviewed the
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     Motion and the record, the Court finds good cause to grant dismissal. Accordingly,
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     IT IS HEREBY ORDERED:
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     ORDER GRANTING STIPULATED MOTION TO DISMISS DEFENDANT
     PROVIDENCE HEATH & SERVICES OF WASHINGTON ~ 1
      Case 4:20-cv-05063-RMP     ECF No. 20   filed 11/04/20   PageID.104 Page 2 of 2



1          1. The Stipulated Motion to Dismiss Providence Health & Services with

2             Prejudice, ECF No. 19, is GRANTED.

3          2. Plaintiffs’ Complaint is dismissed with prejudice and without fees or

4             costs as to Defendant Providence Health Services – Washington, d/b/a

5             Providence St. Mary Medical Center only, and Judgment of Dismissal with

6             Prejudice shall be entered.

7          3. All other claims against all other Defendants remain pending.

8          IT IS SO ORDERED. The District Court Clerk is directed to enter this

9    Order, to terminate Providence Health Services – Washington, d/b/a Providence St.

10   Mary Medical Center as a Defendant in this matter, and provide copies to counsel.

11         DATED November 4, 2020.

12
                                                s/ Rosanna Malouf Peterson
13                                          ROSANNA MALOUF PETERSON
                                               United States District Judge
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     ORDER GRANTING STIPULATED MOTION TO DISMISS DEFENDANT
     PROVIDENCE HEATH & SERVICES OF WASHINGTON ~ 2
